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                       UNITED STATES DISTRICT COURT FOR THE
                           SOUTHERN DISTRICT OF FLORIDA
                           CASE NO. 20-CV-62166-SINGHAL/VALLE

  828 MANAGEMENT, LLC d/b/a THE HUB;
  2ND STREET ENTERPRISES, INC. d/b/a
  CAPONE’S; THREE LEGGED DOG, LLC
  d/b/a LUCKY’S TAVERN; 111 SW 2ND AVE,
  LLC d/b/a SWAY NIGHTCLUB; MAGIOS,
  INC. d/b/a EBAR CLUB 13; EIM
  ENTERPRISES, INC. d/b/a #00 SHATO; JOHR
  GROUP, INC. d/b/a EURO NIGHT CLUB;
  GRAND CAFÉ, INC.; D’LUX RESTAURANT
  AND BAR, LLC d/b/a HOLLYWOOD LIVE;
  and TROY CABRERA,

         Plaintiffs,

  v.

  BROWARD COUNTY, a political subdivision
  of the State of Florida,

         Defendant.


               NOTICE OF APPEAL BY DEFENDANT BROWARD COUNTY

         Notice is hereby given that Defendant Broward County (“County”), by and through the

  undersigned counsel, in the above named case hereby appeals to the United States Court of Appeals

  for the Eleventh Circuit from Order Granting Plaintiffs’ Motion for Temporary Restraining Order,

  Preliminary Injunction and Incorporated Memorandum of Law (DE 48) entered in this action on

  the 21st day of December, 2020.

  Dated: December 29, 2020                    Respectfully submitted,

                                              Andrew J. Meyers
                                              Broward County Attorney
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